Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 1 of 31 Page ID #:315



    1   RUSS, AUGUST & KABAT
        Marc A. Fenster, SBN 181067
    2   Email: mfenster@raklaw.com
    3   Reza Mirzaie (CA SBN 246953)
        Email: rmirzaie@raklaw.com
    4   Brian D. Ledahl (CA SBN 186579)
    5   Email: bledahl@raklaw.com
        Paul Kroeger (CA SBN 229074)
    6   Email: pkroeger@raklaw.com
        C. Jay Chung (CA SBN 252794)
    7   Email: jchung@raklaw.com
    8   Philip X. Wang (CA SBN 262239)
        Email: pwang@raklaw.com
    9   12424 Wilshire Boulevard, 12th Floor
   10   Los Angeles, California 90025
        Telephone: (310) 826-7474
   11   Facsimile: (310) 826-6991
   12   Attorneys for Plaintiff
   13   Data Scape Limited
   14
   15
   16                        UNITED STATES DISTRICT COURT

   17                      CENTRAL DISTRICT OF CALIFORNIA

   18
   19 DATA SCAPE LIMITED,                      Case No. 8:18-cv-02285-DOC-KES

   20               Plaintiff,                 DATA SCAPE’S OPPOSITION TO
   21                                          WESTERN DIGITAL’S MOTION
             v.                                TO DISMISS
   22
                                               Date: May 6, 2019
      WESTERN DIGITAL CORPORATION,             Time: 8:30 AM
   23 WESTERN DIGITAL
                                               Ctrm: 9D
   24 TECHNOLOGIES, INC.,
                                               District Judge: Hon. David O. Carter
   25               Defendants.
   26
   27
   28
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 2 of 31 Page ID #:316
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 3 of 31 Page ID #:317



    1                           TABLE OF AUTHORITIES
    2 Cases                                                                      Page(s)
    3 Aatrix Software , Inc. v. Green Shades Software., Inc.,
    4         882 F.3d 11 21 (Fed. Cir. 2018 )………………...…...…………22, 23, 24
    5 Affinity Labs of Texas, LLC v. Amazon.com., Inc.,
    6         838 F.3d 1266 (Fed. Cir. 2016)………………….…………………………...17
    7 Alice Corp. Pty. Ltd. v. CLS Bank Int’l,
    8         134 S. Ct. 2347…………….…………………………………….1-3, 6, 11, 19
    9 Amdocs (Israel) limited v. Opnet Telecom, Inc.,
   10         841 F.3d 1288 (Fed. Cir. 2016)…………………………………………6, 7, 13
   11 Ancora Techs., Inc. v. HTC Am., Inc.,
   12         908 F.3d 1343 (Fed. Cir. 2018)………..……………………………….2, 14, 15
   13 Ashcroft v. Iqbal,
   14         556 U.S. 662, 679 (2009)………………………………………………….2
   15 Be11 All. Corp. v. Twombly,
   16         550 U.S. 544,555 (2007)………………………………………………….2
   17 Berkheimer v. HP Inc.,
   18         881 F.3d 1360 (Fed. Cir. 2018)…………………………..12, 19, 21, 23
   19 Berkheimer v. HP, Inc.,
   20         890 F.3d 1369 (Fed. Cir. 2018)………………………………………………20
   21 Burroughs Wellcome Co. v. Barr Labs., Inc.,
   22         40 F.3d 1223 (Fed. Cir. 1994)………………………………………………..12
   23 Comair Rotron, Inc. v. Nippon Densan Corp.,
   24         49 F.3d 1535 (Fed. Cir. 1995)………………………………………………..12
   25 Content Extraction & Transmission LLC, v. Wells Fargo Bank, Nat’l Ass’n.
   26         776 F.3d 1343 (Fed. Cir. 2014)………………………………………………16
   27 DDR Holdings, LLC v. Hotels.com,
   28         773 F.3d 1245 (Fed. Cir. 2014)…………………………………………..13, 14

                                                 ii
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 4 of 31 Page ID #:318



    1 Digitech Image Techs., LLC v. Electronics for Imaging, Inc.,
    2        758 F.3d 1344 (Fed. Cir. 2014). )……………………………….…………18
    3 Finjan, Inc. v. Blue Coat Sys., Inc.,
    4        879 F.3d 1299 (Fed. Cir. 2018)….………………………………………2, 14
    5 Hal Roach Studios, Inc. v. Richard Feiner & Co., Inc.,
    6        896 F.2d 1542 (9th Cir. 1990)…………………………………….………2
    7 In re TLI Commc’ns LLC Patent Litig.,
    8        823 F.3d 607 (Fed. Cir. 2016) )…………………………………….…..…17
    9 Manzarek v. St. Paul Fire & Marine Ins. Co.,
   10        519 F.3d 1025 (9th Cir. 2008)…………………………………….………2
   11 Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
   12        132 S. Ct. 1289 (2012))………………………………………………….19, 20
   13 McRO, Inc. v. Bandai Namco Games Am. Inc.,
   14        837 F.3d 1299 (Fed. Cir. 2016)……………………………...…………3, 11, 13
   15 Papasan v. Allain,
   16        478 U.S. 265 (1986) )…………………………………….……………….2
   17 Proxyconn, Inc. v. Microsoft Corporation,
   18        No. SA CV 16-1102-DOC-JPR, 2016 WL 9109110, at *2 (C.D. Cal. Sept. 29,
   19        2016)………….………………………………………………………....8, 18
   20 SAP Am. v. Investpic, LLC,
   21        898 F.3d 1161 (Fed. Cir. 2018)………………………………………………16
   22 Synchronoss Techs., Inc. v. Dropbox, Inc.,
   23        226 F. Supp. 3d 1000 (N.D. Cal 2016)……………………………………….11
   24 Secure Mail Sols. LLC v. Universal Wilde, Inc.,
   25        873 F.3d 906 (Fed. Cir. 2017)………..……………………………………...18
   26 Two-way Media Ltd. v. Comcast Cable Commc’n, LLC,
   27        874 F.3d 1333 (Fed. Cir. 2017)………………………………………………17
   28 Ultramercial, Inc. v. Hulu, LLC,

                                               iii
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 5 of 31 Page ID #:319



    1         772 F.3d 709 (Fed. Cir. 2014)……………………………………….19-21, 24
    2 Van Buskirk v. Cable News Network, Inc.,
    3        284 F.3d 977 (9th Cir. 2002)……………………………………………...2
    4 Visual Memory LLC v. Nvidia Corp.,
    5        867 F.3d 1253 (Fed. Cir. 2017)…………….…………………………….…7
    6
        Other Authorities
    7
        84 Fed. Reg. 50 (Jan. 7, 2019) ………………………………………………………6
    8
        Federal Rule Civil Procedure 12(b)(6)………………………………………………2
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                            iv
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 6 of 31 Page ID #:320



    1     I.      INTRODUCTION
    2          Defendants’ Motion to Dismiss fails at every Alice step. Any reasonable review
    3 of the asserted claims demonstrates that, in their most basic form, they are directed to
    4 improved electronic systems configured to improve an existing electronic process,
    5 namely, the selective transfer or synchronization of digital data between two
    6 computer-storage media. Thus, they are patent-eligible as a matter of law.
    7          Defendants’ arguments otherwise rest on numerous reversible errors of law and
    8 fact. In Alice Step 1, Defendants wrongly attempt to meet their heavy burden by
    9 focusing their Motion on a single supposedly “representative claim” among dozens
   10 of asserted claims—across four patents and two unrelated patent families. To make
   11 matters worse, Defendants also wrongly premise their argument not on the focus of
   12 the claims “as a whole” or even the “claimed advance,” as the Federal Circuit requires.
   13 Instead,     Defendants’    theories   are   premised    on    an   overly    simplified
   14 mischaracterization of the claims that fails to meet these requirements and, on the
   15 other hand, ignores well over one hundred limitations in their “representative” claim
   16 alone. Instead of dealing with any of the key facts, Defendants rely on inapposite
   17 cases. But unlike these cases, the asserted claims do not merely invoke computers as
   18 a tool to perform widely accepted abstract ideas.
   19          Though this Court need not reach Alice Step 2, Defendants’ legal and factual
   20 errors continue there. Incredibly, Defendants continue to fail to acknowledge many
   21 additional claim elements even in Step 2. For the others, they improperly dissect the
   22 claims into old and new elements and present mere attorney argument or conclusory
   23 statements alone. This cannot be sufficient to carry their burden, especially in light of
   24 the vast, contrary patent disclosures and claim-requirements. Though these failures of
   25 law and fact are clear on their face, at the very least, there are numerous factual
   26 questions under Step 2, which is also fatal to Defendants’ Motion at this stage of the
   27 case. Accordingly, that Motion should be denied in its entirety.
   28

                                                   1
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 7 of 31 Page ID #:321



    1      II.      APPLICABLE LEGAL STANDARDS UNDER RULE 12(B)(6)
    2            Under Federal Rule of Civil Procedure 12(b)(6), a complaint must be
    3 dismissed when a plaintiff’s allegations fail to set forth a set of facts which, if
    4 true, would entitle the complainant to relief. Ashcroft v. Iqbal, 556 U.S. 662,
    5 679 (2009); Be11 All. Corp. v. Twombly, 550 U.S. 544, 555 (2007). The
    6 pleadings must raise the right to relief beyond the speculative level; a plaintiff
    7 must provide "more than labels and conclusions, and a formulaic recitation of
    8 the elements of a cause of action will not do." Twombly, 550 U.S. at 555 (citing
    9 Papasan v. Allain, 478 U.S. 265,286 (1986)). On a motion to dismiss, courts
   10 accept as true a plaintiff’s well-pleaded factual allegations and construe all
   11 factual inferences in the light most favorable to the plaintiff. See Manzarek v.
   12 St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Courts
   13 are not required to accept as true legal conclusions couched as factual
   14 allegations. Iqbal, 556 U.S. at 678. In evaluating a Rule l2(b)(6) motion, review
   15 is ordinarily limited to the contents of the complaint and materials properly
   16 submitted with the complaint. Van Buskirk v. Cable News Network, Inc., 284
   17 F.3d 977,980 (9th Cir. 2002); Hal Roach Studios, Inc. v. Richard Feiner &
   18 Co., Inc., 896 F.2d 1542, 1555 n.19 (9th Cir. 1990).
   19      III.     DEFENDANTS CANNOT MEET THEIR BURDEN OF PROVING
                    PATENT-INELIGIBILITY
   20
   21               A. The Morohashi Claims Are Patent-Eligible As a Matter of Law
                       Because They Are “Directed To” Unconventional Technological
   22                  Improvements to Technological Processes
   23
                 Under Step 1 of the Alice inquiry, courts must ask “whether the claims, as a
   24
        whole, is ‘directed to’ [] an abstract idea.” Ancora Techs., Inc. v. HTC Am., Inc., 908
   25
        F.3d 1343, 1347 (Fed. Cir. 2018). To determine what the claims are “directed to,”
   26
        courts must, at the very least, examine each patent’s “claimed advance.” Id. (citing
   27
        Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299, 1303 (Fed. Cir. 2018). In so doing,
   28

                                                   2
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 8 of 31 Page ID #:322



    1 courts “‘must be careful to avoid oversimplifying the claims’ by looking at them
    2 generally and failing to account for the specific requirements” of different claims.
    3 McRO, Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299, 1313 (Fed. Cir. 2016).
    4 This is because at “some level, ’all inventions … embody use, reflect, rest upon, or
    5 apply laws of nature, natural phenomena, or abstract ideas.’” Alice 134 S. Ct at 2354.
    6         Any reasonable review of the claims of the three Morohashi patents-in-suit
    7 demonstrates that—even ignoring many claim limitations—in their most basic form,
    8 they are “directed to:”
    9      • A data synchronization system with a controller configured to selectively
   10        transmit certain digital data between first and second storage media based on
             a comparison of edited data management information stored in the storage
   11        medium (‘929 patent);
   12      • A data synchronization system with a controller configured to compare
   13        identifiers in first and second apparatuses and thereby selectively delete and
             transfer certain digital content data across the two apparatuses (‘537 patent);
   14        and
   15
           • A data synchronization system with a controller configured to uniquely
   16        associate an edited digital data list with an external apparatus using a unique
   17        identification of that external apparatus and selectively transfer certain digital
             content data registered in that list (‘581 patent).
   18
              Under controlling law, none of these ideas is abstract. To the contrary, the ideas
   19
        are directed to improved electronic systems—reciting computer controllers and other
   20
        concrete components and circuitry—that are configured to improve an existing
   21
        electronic process, namely, the selective transfer or synchronization of certain digital
   22
        data between two computer storage media. Thus, they are patent-eligible as a matter
   23
        of law. Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2358 (claims that
   24
        “improve[] an existing technological process” or “solve a technological problem in
   25
        ‘conventional industry practice’” are patent-eligible as a matter of law).
   26
              The intrinsic record of different Morohashi patents-in-suit further bolster this
   27
        inevitable conclusion. In fact, they make clear the claims must be electronic-specific
   28

                                                   3
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 9 of 31 Page ID #:323



    1 solutions aimed at improving technological processes and tackling technological
    2 shortcomings that can only exist in the electronic realm; namely, selectively edit and
    3 transfer only certain identified digital data—and only to certain connected computer-
    4 storage media. And they accomplished this feat by conceiving—in 1999 and 2002—
    5 various technical solutions that involved various systems and methods that employed
    6 a “controller” or other computer circuitry to use and compare in the digital space what
    7 they referred to as “management” data and “identifiers.”
    8         As the Morohashi patents expressly state, the inventors at Sony aimed to solve
    9 the problems skilled artisans in 1999 faced trying to selectively transfer digital data
   10 between two electronic apparatuses. E.g., ’929 Patent, Col 2:1-39. For example, the
   11 “conventional” electronic systems used by skilled artisans at the time of the invention
   12 were computer systems with an optical disk-changer to accomplish this process. Id.
   13 at 10-29. But with the then-recent explosion of massive digital-data transfer on the
   14 order of gigabytes, the existing electronic processes did not enable easy or random
   15 selection of files to transfer. Id. When someone used computer systems that burned
   16 digital files into hard disk drives or semiconductor memory, those systems still
   17 required a large amount of time to selectively transfer certain digital data between
   18 electronic apparatuses. Id. And in any case, there was no reasonable way to selectively
   19 synchronize select digital content data between the apparatuses. Id. These problems
   20 were specific to the technological, electronic process of selective digital-data transfer
   21 between electronic apparatuses. Id. at 1:27-2:22. And the inventor expressly stated
   22 that he did not want to resort to merely changing aspects of the existing electronic
   23 processes to make them require more manual user-interactions, because that would
   24 be “cumbersome” and create “confusion.” Id. at 2:10-39.
   25
   26
   27
   28

                                                  4
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 10 of 31 Page ID #:324



    1        With thirteen hardware and software figures and twenty-eight columns of
    2 explanatory textual disclosure, including Figure 2 below, the inventor taught technical
    3 solutions involving a novel and unconventional computer system with a controller
    4 configured with circuitry to compare and otherwise make use of certain control data
    5 he called “management” information:
    6
    7
    8
    9
   10
   11
   12
   13        Enabled by these teachings, the patents recite in their claims various
   14 unconventional technical solutions to the existing technological problems and
   15 shortcomings. For example, various claims require the then-unconventional system
   16 of electronic components configured to use certain digital “management information”
   17 to compare, edit, delete and selectively transfer separate digital content data between
   18 two identified electronic apparatuses. See,’929 Patent Claim 1. For example, Claim 1
   19 of the ’929 Patent recites a distributed system with computer components, including:
   20        • [a] a second storage medium configured to store management
               information of data to be transferred to said first storage medium;
   21
   22        • [b] a communicator configured to communicate data with said first
               apparatus;
   23
             • [c] a detector configured to detect whether said first apparatus and
   24
               said second apparatus are connected;
   25
             • [d] an editor configured to select certain data [] and to edit said
   26          management information based on said selection, without regard to
   27          the connection… and
   28        • [e] a controller configured to:

                                                 5
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 11 of 31 Page ID #:325



    1                   o [i] control transfer of the selected data stored in said
                          second apparatus to said first apparatus via said
    2
                          communicator based on said management information
    3                     edited by said editor when said detector detects that said
                          first apparatus and said second apparatus are connected;
    4
    5                   o [ii] compare said management information…with
                          management information [] in said first storage medium
    6                     and
    7
                        o [iii] to transmit data [] based on [the] comparison.”
    8
        ‘929 Patent Claim 1 (emphasis added).
    9
              Unlike Defendants’ cited cases, the claims plainly do not fall within any of the
   10
        categories “identified by the courts as abstract ideas,” that recently have been
   11
        synthesized into three groups: “(a) mathematical concepts”; “(b) methods of
   12
        organizing human activity”; or “(c) mental processes.” 84 Fed. Reg. 50 (Jan. 7, 2019)
   13
        (2019 PTO §101 Guidance, citing and surveying post-Alice decisions). And they do
   14
        not merely recite computer components to perform an “abstract idea.” They recite
   15
        technological solutions to problems that were specific and unique to the technological
   16
        realm of selective editing and/or transfer of digital data. They are, therefore, patent-
   17
        eligible as a matter of law. Alice, 134 S. Ct. at 2358.
   18
              Indeed, even acknowledging only the underlined claim elements—which were
   19
        those noted in the prosecution history to advance the independent claims over the
   20
        existing prior art in 1999—the claims here are analogous to claims determined to be
   21
        patent-eligible by the Federal Circuit. For instance, in Amdocs (Israel) Limited v.
   22
        Opnet Telecom, Inc., the Federal Circuit held that a strikingly similar claim, which
   23
        had significantly fewer limitations, was not abstract and, therefore, patent-eligible.
   24
        841 F.3d 1288 (Fed. Cir. 2016). In that case, the Federal Circuit held as patent-eligible
   25
        the following claim in a patent for an improved system for receiving and correlating
   26
        “accounting records” between a first source and a second source using “the
   27
        accounting information available from a second source:”
   28

                                                    6
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 12 of 31 Page ID #:326



    1            • “code for”
    2                   o [a] “receiving from a first source a first network
                          accounting record,”
    3
    4                   o [b] “correlating the network accounting record with
                          accounting information available from a second source,”
    5                     and
    6
                        o [c] “using the accounting information with which the first
    7                     network accounting record is correlated to enhance the
                          first network accounting record”.
    8
    9 Id. at 1299-1300. In reversing the district court’s ineligibility decision, the Federal
   10 Circuit held the claim was eligible as a matter of law because, though it pertained to
   11 “accounting records,” it nevertheless “entails an unconventional technological
   12 solution (enhancing data in a distributed fashion) to a technological problem (massive
   13 record flows which previously required massive databases).” Id. at 1300-01. The court
   14 further noted that even though the “solution requires arguably generic components,
   15 including network devices and gatherers’ which gather information,” the claims
   16 nevertheless were eligible because, in light of the specification, they recited using
   17 those components in an unconventional manner. Id.
   18        As shown above, the asserted Morohashi claims here are striking similar, only
   19 they are directed squarely to the more widely accepted technological problem of
   20 selective digital-data transfer. And the claims recite solutions aimed to improve an
   21 electronic system—and likewise require a controller to compare “management
   22 information”—but also recite many more limitations than those in Amdocs.
   23        Other Federal Circuit cases also confirm the eligibility of these claims. For
   24 example, in Visual Memory LLC v. Nvidia Corp., the Federal Circuit reversed a
   25 district court finding of ineligibility of a patent on an electronic system for
   26 determining a type of data stored in a cache memory using another memory medium
   27 and an “operational characteristic.” 867 F.3d 1253, 1257-61 (Fed. Cir. 2017). The
   28 court held that, despite the small number of claim requirements, which may or may

                                                 7
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 13 of 31 Page ID #:327



    1 not present other invalidity issues not before the court, the claims were patent-eligible
    2 because they focused on a “‘specific asserted improvement in computer
    3 capabilities’—the use of programmable operational characteristics that are
    4 configurable based on the type of processor.” Id. at 1259-60.
    5          This Court’s precedent is highly instructive to this particular case as well. In
    6 Proxyconn, Inc. v. Microsoft Corporation, this Court analyzed claims that were also
    7 aimed at the selective transfer of data to reduce computer storage, transfer and time
    8 burdens. Proxyconn, Inc. v. Microsoft Corp., No. SA CV 16-1102-DOC-JPR, 2016
    9 WL 9109110, at *2 (C.D. Cal. Sept. 29, 2016). And like the “management” or
   10 “identifier” information employed in the claims here, the Proxyconn claims used a
   11 “digital digest.” Id. at *1-2. And like the requirements to compare management
   12 information and/or use other control identifiers here, the Proxyconn claims further
   13 included a set of rules “tailored to the data access and storage context,” and “not
   14 general mathematical principles[.]” Id. at *5. This “ma[de] them the proper province
   15 of patent protection.” Id. So too are Data Scape’s patent claims.
   16             B. The Hirano ’893 Patent Is Eligible As A Matter of Law For the Same
                     Reasons
   17
   18          Like the separate Morohashi patent family, the Hirano (“’893 patent”)
   19 claims—in their most basic form—are even more limited. They are “directed to:”
   20     •     A data synchronization system with circuitry configured to use management
                data to automatically identify specific digital source data in a first computer
   21           storage that is absent on a second computer storage—and automatically
   22           transfer that data to the second storage medium while automatically
                outputting its digital transfer status. (’893 Patent)
   23
   24         The Hirano patents, conceived by a team of different inventors a little more than

   25 two years later, in 2002, are directed to even narrower electronic solutions to existing
   26 electronic processes. The ’893 patent inventors aimed to avoid expending the vast
   27 amounts of digital computer-storage space and time that skilled artisans encountered
   28 when transferring duplicate digital files using CDs and hard disk drives on existing

                                                   8
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 14 of 31 Page ID #:328



    1 electronics apparatuses. ’893 Patent, Col. 1:34-2:59 (describing one existing
    2 “drawback” as the “hard disk [space] consumed in vain” and “[a]nother drawback”
    3 caused by “duplication … and recording on [] hard disk” in which “time is prolonged
    4 in vain.”). Nevertheless, the inventors made clear they wanted to improve the existing
    5 electronic processes, rather than inconvenience computer users. Indeed, they stated
    6 that changing the existing (albeit, problematic) computer processes to merely demand
    7 that a user perform a “checking” operation was not an option. Id. (“a personal
    8 computer is usable, but the user must still perform a[n] operation particular for
    9 checking and ease of use is not provided”).
   10       Instead, Hirano and his co-inventors aimed to improve the existing electronic
   11 processes. And with their entirely different set of nineteen hardware and software-
   12 related figures and thirty-eight columns of explanatory text, the Hirano inventors also
   13 presented electronic-specific solutions to an electronic-specific problem. Figure 1
   14 illustrates an exemplary embodiment:
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                 9
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 15 of 31 Page ID #:329



    1         And to further enable its express aim of achieving automated, electronic
    2 synchronization of certain de-duplicate digital-data files, the patent teaches exemplary
    3 data frame and block structures, and “sub-coding,” which, as the patents make clear,
    4 is unique to the digital realm:
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
              As with the Morohashi patents, the ’893 Hirano patent likewise recites in its
   17
        claims solutions aimed to improve the automatic transfer of only specific, de-
   18
        duplicate digital files not already residing on a second computer storage medium. ’893
   19
        patent, Claims 1-45. And they further enable the electronic output of a real-time status
   20
        of that transfer. Id. For example, Claim 32 recites:
   21
              • “circuitry configured to:
   22
   23             • [a] automatically read first management data from a first
                    storage medium, the first management data identifying files of
   24               source data recorded on the first storage medium,
   25
                  • [b] automatically identifying one of the files of source data
   26               based on the first management data and second management
   27               data, the second management data identifying files of
                    transferred data stored on a second storage medium, the one of
   28

                                                  10
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 16 of 31 Page ID #:330



    1               the files of source data being absent from the second source
                    medium,
    2
    3            • [c] automatically transfer the one of the files of source data to
                   the second storage medium, the one of the files of the source
    4              data being transferred becoming one of the files of transferred
    5              data, and
    6            • [d] automatically output transferring status of the one of the
    7              files of source data by a symbolic figure.”

    8 ’893 patent, Claim 32 (emphasis added).
    9         The Hirano claims also do not fall within any of the categories identified by
   10 the courts as abstract ideas. They recite technical solutions to the existing technical
   11 problems and, thus, are patent-eligible as a matter of law. Alice, 134 S. Ct. at 2358.
   12         And again, when just accounting for the key limitations, they are analogous to
   13 claims determined to be patent-eligible by the Federal Circuit. For instance, in Core
   14 Wireless v. LG Elecs., the court held that the claims were eligible under Step 1 because
   15 they provided an improved solution to the technical problem of collecting,
   16 summarizing and displaying data on a user interface, even though “the generic idea
   17 of summarizing information certainly existed prior to the invention. 880 F.3d 1356,
   18 1362 (Fed. Cir. 2018). Likewise, in McRo, Inc. v. Bandai Namco Games Am., Inc.,
   19 the court held a patent eligible under Steps 1 and 2 where it was expressly directed to
   20 “automating” the animation of lip synchronization. 837 F.3d 1299, 1299-1313 (Fed.
   21 Cir. 2016). And in a district court case that is even more factually analogous, the
   22 Northern District of California held that claims that were directed to “more efficient
   23 mechanism for synchronizing data between systems connected to a network by
   24 updating only the changed data rather than recopying all information” were patent-
   25 eligible as a matter of law. Synchronoss Techs., Inc. v. Dropbox, Inc., 226 F. Supp.
   26 3d 1000, 1007-08 (N.D. Cal 2016). That was because, just like the claimed subject
   27 matter and patent disclosures here, the claim is “directed to an improvement in
   28 computer capabilities.” Id. Defendants arguments should be rejected.

                                                 11
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 17 of 31 Page ID #:331



    1             C. Defendants’ Arguments Under Alice Step 1 Rests On Numerous
                     Errors of Law and Fact
    2
    3                1. Defendants’ Motion is Based On a Flawed Attempt to Lump
                        Together Dozens of Claims from Four Patents In Unrelated
    4                   Patent Families Into A Single “Representative Claim”
    5
              In their first flawed attempt to oversimplify the inventions and issues for this
    6
        Court to decide, Defendants present their Step 1 arguments on dozens of asserted
    7
        claims—across two unrelated patent families—to focus on a single “representative”
    8
        independent claim (Claim 1) of the ’929 Patent. Mot. at 10-11. But the Federal Circuit
    9
        very recently clarified that a “claim is not representative simply because it is an
   10
        independent claim” and, regardless, it is error to use a “representative” claim in any
   11
        eligibility determination if there is “any meaningful argument” not to. Berkheimer
   12
        v. HP Inc., 881 F.3d 1360, 1365-66 (Fed. Cir. 2018) (emphasis added).
   13
              Though Defendants’ premise that Claim 1 of the ’929 Patent is “representative”
   14
        of all asserted claims is based on flawed and inaccurate conclusory statements, this
   15
        case includes textbook examples of additional “meaningful argument[s]” why it is
   16
        wrong to boil down the entire case to one claim. Indeed, even with respect to patents
   17
        in the same patent family, the “separate patents describe ‘separate and distinct
   18
        [inventions],’ 35 U.S.C. § 121 . . . and it cannot be presumed that related patents rise
   19
        and fall together.” Comair Rotron, Inc. v. Nippon Densan Corp., 49 F.3d 1535, 1539
   20
        (Fed. Cir. 1995); see also Burroughs Wellcome Co. v. Barr Labs., Inc., 40 F.3d 1223,
   21
        1231-32 (Fed. Cir. 1994) (“even though all six patents arise from the same parent
   22
        application, each patent claims a different invention”). But there are additional
   23
        “arguments” here: the patents in fact have different claimed solutions across four
   24
        patents in two unrelated patent families with wholly non-overlapping specifications.
   25
        See supra § III.A & B.
   26
              One comparison between the Morohashi patent family and the Hirano patent
   27
        family makes this point clear. While the Morohashi family, on the one hand, includes
   28

                                                  12
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 18 of 31 Page ID #:332



    1 thirteen figures and twenty-eight columns of enabling disclosure, the Hirano family
    2 (which has entirely different inventors) includes an entirely different set of nineteen
    3 figures and thirty-eight columns of entirely different disclosure. Compare ‘929 patent
    4 with ‘893 patent. And even a cursory review of the independent claims, much less
    5 their dependents, prove there is significant non-overlap in claim elements in the
    6 Morohashi patent family alone—and very little overlap at all between that family and
    7 the claims of the Hirano ’893 patent. This Court can deny Defendants’ faulty motion
    8 for this reason alone.
    9                2. Regardless, Defendants’ Argument Is Based On Another
                        Reversible Error: Overlooking Key Aspects of Each Patent,
   10
                        Including the “Claimed Advance”
   11
              Defendants’ Motion adds a second flawed premise right after their first one.
   12
        This time, Defendants further base their entire Step 1 argument on the premise that
   13
        all of the dozens of asserted claims across the two unrelated patent families have the
   14
        exact same idea or “thrust” or “focus,” namely, “transferring specified data from one
   15
        storage location to another.” Mot. at 12-13. Defendants’ premise is demonstrably
   16
        incorrect as a matter of law and fact.
   17
              First, Defendants’ single summary of the claimed focus of dozens of claims
   18
        improperly “oversimplif[y] the claims’ by looking at them generally and failing to
   19
        account for the specific requirements” of different claims. McRO, Inc., 837 F.3d at
   20
        1313; see also Amdocs, 841 F.3d at 1299 (reversing district court because it failed to
   21
        acknowledge key elements of the claim in Step 1). For example, to argue that the
   22
        claims were directed to abstract ideas, the defendant in DDR Holdings omitted key
   23
        concepts and inaccurately summarized the patented invention as “making two web
   24
        pages look the same.” DDR Holdings, 773 F.3d at 1255-59. The Federal Circuit
   25
        rejected that bare description. Id. Instead, the court held that the claims were directed
   26
        to “methods of generating a composite web page that combines certain visual
   27
        elements of a ‘host’ website with content of a third-party merchant.” Id. at 1248.
   28

                                                   13
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 19 of 31 Page ID #:333



    1 Under the correct characterization, the court held that the claims were patent eligible.
    2 Id. at 1259.
    3        As in DDR Holdings and other cases, Defendants here provide oversimplified
    4 and incorrect characterizations of the patented claims, a replay of the unsuccessful
    5 strategy    used   by    the   DDR     Holdings    defendant.    Indeed,   Defendants’
    6 oversimplification is far worse: their sweeping nine-word oversimplification ignores
    7 one hundred and seventy-three elements in Claim 1 of the ’929—and obviously fails
    8 to account for meaningful differences between that claimed solution and all the others.
    9 That is in clear violation of controlling precedent, which acknowledges the simple
   10 truth that on “some level, ‘all inventions … embody use, reflect, rest upon, or apply
   11 laws of nature, natural phenomena, or abstract ideas.’” Alice 134 S. Ct at 2354.
   12        Second, while a summary of the claimed ideas under Alice Step 1 may omit
   13 some claimed details, Defendants’ sweeping “summary” disregards the exact details
   14 the law forbids us to omit. the Federal Circuit has mandated that courts must ask
   15 “whether the claims, as a whole, is ‘directed to’ [] an abstract idea.” Ancora Techs.,
   16 908 F.3d at 1347 (emphasis added). And to determine what the claims are “directed
   17 to,” courts must examine the intrinsic record and include, at the very least, each
   18 patent’s “claimed advance.” Id. (citing Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d
   19 1299, 1303 (Fed. Cir. 2018)) (emphasis added).
   20        But here, Defendants’ single proposed “focus” (across the dozens of asserted
   21 claims) fails to even include the “claimed advance,” let alone view each patent claim
   22 as a whole. A review of the claims and other intrinsic evidence demonstrates that,
   23 according to the patentee and the examiner, the “claimed advance” of even Claim 1
   24 of the ’929 included these emphasized elements:
   25        • [d] an editor configured to select certain data [] and to edit said
               management information based on said selection, without regard to
   26
               the connection… and
   27
             • [e] a controller configured to…
   28

                                                 14
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 20 of 31 Page ID #:334



    1                   o [ii] compare said management information…with
                          management information [] in said first storage medium
    2
                          and
    3
                        o [iii] to transmit data [] based on [the] comparison.”
    4
        See, e.g., Ex. 1 (‘929 FH) at Page 299-303 of 379 (June 29, 2009 Amendment)
    5
        (applicant indicating that “edit[ing] management information … without regard to
    6
        connection” is inventive over prior art); id. at Page 367 of 379 (Sept 17, 2009
    7
        Amendment) (indicating that examiner agreed that “comparing management
    8
        information” would overcome examiner’s rejections). Defendants’ failure to include
    9
        these most basic elements in the claimed advance makes their entire Step 1 argument
   10
        flawed as a matter of law. Ancora Techs, 908 F.3d at 1347.
   11
              Third, while Defendants’ misdirection from the claims and focus on random
   12
        snippets from the specifications runs afoul of precedent requiring litigants to examine
   13
        the “claims, as a whole,” the snippets also do not help them. Mot. at 12-13. Instead,
   14
        the specification only confirms that Defendants’ sweeping approach is wrong—and
   15
        that each patent provides unconventional electronic technological improvements to
   16
        existing electronic processes. E.g., supra at § III.A & B.
   17
              In view of these critical errors in law and fact, Defendants cannot carry their
   18
        heavy burden on Step 1. And, therefore, their motion to dismiss fails in its entirety.
   19
                     3. Defendants Rely On Inapposite Cases And Ignore The Critical
   20
                        Factual Distinctions Between Each of Those Cases and This One
   21
              Instead of acknowledging or dealing with any of the key intrinsic facts,
   22
        Defendants instead rely on many factually distinguishable cases. While large in
   23
        number, Defendants’ cases are inapposite—and Defendants’ arguments for why they
   24
        are analogous wholly fail on substance. As an initial matter, Defendants’ reliance and
   25
        arguments are premised on Defendants’ fatally flawed oversimplification of the
   26
        asserted claims here, which ignores all of the “claimed advances”—and strips away
   27
        the one hundred seventy-three claim requirements and the entire nature of the patents
   28

                                                  15
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 21 of 31 Page ID #:335



    1 along with it. And in any event, they miss the key distinctions between even facially
    2 similar cases with ineligible patent claims and those with eligible claims under Step
    3 1. Unlike the cases Defendants cite, the asserted claims here are not merely invoking
    4 computers as a tool to accomplish systems or methods that are “directed to” abstract
    5 ideas. Instead, they are directed to unconventional technological solutions to the
    6 technological processes and systems and processes that existed at the time of the
    7 inventions. See supra § III.A, B, C.2.
    8         Defendants’ leadoff cases—Content Extraction and SAP America—only reveal
    9 the fatal flaws in their Step 1 analysis. Those two inapposite cases involve patents that
   10 are expressly aimed toward ideas that focus on commercial or economic activity long
   11 held to involve abstract ideas—and merely using a computer to process that activity.
   12         For example, in Content Extraction & Transmission LLC v. Wells Fargo Bank,
   13 Nat’l Ass’n, the patents at issue were part of a family which taught methods that “can
   14 be performed by software on an automated teller machine (ATM) that recognizes
   15 financial information written on a scanned check, such as the check’s amount” and
   16 other financial information that can be read by the naked eye. 776 F.3d 1343, 1345-
   17 47 (Fed. Cir. 2014). And beyond this undisputed fact, the claims were drawn to
   18 collecting data, recognizing certain data sets and storing those data sets—offering no
   19 specific feature or way to accomplish those goals. Id. Thus, after filing suit against
   20 banks and other financial services, the Federal Circuit followed a long line of cases
   21 and unsurprisingly held that the claims were directed to abstract ideas, which are no
   22 less abstract just because you use a computer or machine to perform them. Id.
   23 Similarly, the claim in SAP Am. v. Investpic, LLC also involved abstract financial
   24 activity. And unlike the claims here, it expressly aimed to avoid “understat[ing] the
   25 true risk and oversta[ing the] potential rewards for an investment or trading strategy.”
   26 898 F.3d 1161, 1164-65 (Fed. Cir. 2018). From there, the claims merely recited
   27 mathematical concepts to generate financial information to achieve these long-
   28 established abstract goals. Id. Indeed, the method claim involved merely (a) “selecting

                                                 16
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 22 of 31 Page ID #:336



    1 a sample space [that] includes at least one investment data sample;” (b) “generating a
    2 distribution function using a resampled statistical method and bias parameter …” and
    3 (c) “generating a plot of the distribution function.” Id.
    4        Defendants’ leading “analogous” cases are critically different from the present
    5 case, which is directed to improving the existing processes of selective digital-data
    6 transfer and which further provides specific technological-based ways—using
    7 computer controller using management data and identifier—to achieve that
    8 improvement.
    9        Defendants’ follow-on cases fare no better and are inapposite under Step 1 for
   10 similar reasons. Setting aside Defendants’ extremely high-level cropped quotes and
   11 forced analogies, a review of the record confirms that claims are markedly different
   12 than those asserted here. For example, in Affinity Labs of Texas, LLC v. Amazon.com.,
   13 Inc., though the patent claim snippets appear on their face to suggest a computer-data
   14 focus, a more thorough review of the intrinsic record confirmed they were not. Both
   15 the specification and the admittedly representative claim was not; it was directed to
   16 the mainly geography-related, service-subscription problem of transferring “regional
   17 broadcast signals to cellular telephones located outside the region.” 838 F.3d 1266,
   18 1267-69 (Fed. Cir. 2016). Thus, the Federal Circuit held that the claims were directed
   19 to the ineligible “concept of providing out-of-region access to regional broadcast
   20 content.” Id. And unlike the claimed “controller” elements of the Morohashi patents
   21 or the claimed “circuitry” elements of the Hirano patent here, Affinity’s claim did not
   22 include any specificity on how any components achieved its abstract goal. Id. Two-
   23 way Media Ltd. v. Comcast Cable Commc’n, LLC was very similar and also involved
   24 admittedly representative claims directed to generically “directing” sent information,
   25 “monitoring” a receipt of that information, and “accumulating” the receipts. 874 F.3d
   26 1333, 1337-38 (Fed. Cir. 2017). And like Affinity Labs, the claims did not include any
   27 specificity on how any components achieved its abstract goal. Id. Similarly, in In TLI
   28 Commc’ns LLC Patent Litig., the claims stood in stark contrast to those asserted here.

                                                 17
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 23 of 31 Page ID #:337



    1 They were directed to using a generic “telephone” and a purely conventional server
    2 to merely classify an image and store it based on that classification. 823 F.3d 607, 612
    3 (Fed. Cir. 2016). And beyond defective claims, the specification was also defective.
    4 It did not “describe a new telephone, a new server, or a new physical combination of
    5 the two,” but instead, only described the systems in purely functional terms. Id.
    6         Defendants’ remaining “analogous” Federal Circuit cases are likewise
    7 inapposite. Secure Mail Sols. LLC v. Universal Wilde, Inc., involved non-electronic
    8 “mail barcode” patents. 873 F3d 906-08 (Fed. Cir. 2017). While the claims did recite
    9 “storing” and receiving” certain mail data, the patent was expressly aimed at the
   10 abstract human activity of allowing an old-school mail sender to provide personalized
   11 data directly to the mail recipient, without the involvement of the mail carrier. Id. And
   12 Digitech Image Techs., LLC v. Electronics for Imaging, Inc., also involved the
   13 abstract human activity of “organizing information through mathematical
   14 correlations.” 758 F.3d 1344. And as this Court previously recognized, the claims
   15 were virtually unlimited in that they “encompass[ed] all embodiments of the
   16 information contained in [a] device profile … regardless of the process through which
   17 the information is obtained[.]” Id.
   18         If anything, Defendants’ sweeping legal assertions only reveal their pervasive
   19 failure to apply the correct legal analysis to computer-implemented claims. As this
   20 Court recognized in Proxyconn, this analysis is necessary to separate the ineligible
   21 claims from eligible ones like those asserted here. As in Proxyconn, Defendants’ cases
   22 are distinguishable because they involve claims that are directed only “generally at
   23 data storage or collection outside of the context of any special method” or any
   24 improvement to a fundamental electronic “processing function.” Proxyconn, 2016
   25 WL 9109110, at *6. Defendants’ refusal to deal with these critical legal or factual
   26 nuances is fatal to their motion.
   27         Left with little else, Defendants end their Step 1 section with a purely
   28 conclusory one-sentence argument the claims here “are drawn so broadly—

                                                  18
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 24 of 31 Page ID #:338



    1 encompassing any type of device for transferring any type of data—that they
    2 impermissibly preempt all applications of this abstract idea.” Mot. at 16. But the one
    3 hundred and seventy-three claim requirements Defendants ignore clearly prove
    4 otherwise. They provide meaningful limitations; they make clear that even many
    5 selective digital-data transfer systems would not and could not infringe. To name just
    6 a few examples, selective digital-data transfer systems that merely transfer, backup
    7 and save all data from a location in one storage device to another would not infringe;
    8 neither would a digital-data transfer system that did not include the specific claimed
    9 “controller;” or one that did not have circuitry to “compare[] management”
   10 information or identifiers in electronic apparatuses.
   11         In sum, Defendants’ theories under Alice Step 1 are legally and factually
   12 baseless. Applying the correct legal principles to this case, the asserted claims are
   13 patent-eligible as a matter of law—and this Court need not move on to Step 2.
   14            D. Though it is Unnecessary to Move Beyond Alice Step 1 in this Case,
                    Defendants’ Arguments in Step 2 Likewise Fail
   15
   16                1. Defendants’ Refusal to Consider All Claim Elements as an
                        Ordered Combination Dooms Their Arguments on Step 2
   17
              The Supreme Court and Federal Circuit have provided significant guidance for
   18
        the rules to apply in Step 2 of the Alice inquiry. At this stage, Defendants bear the
   19
        burden of proving that all facts, read in a light most favorable to the patentee, show
   20
        only that all additional elements of the patented inventions—taken individually or
   21
        together as an ordered combination—do not comprise “well-understood, routine,
   22
        conventional activity.” Ultramercial, 772 F.3d at 715 (quoting Mayo Collaborative
   23
        Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1298 (2012)). Critically, “it is
   24
        inappropriate to dissect the claims into old and new elements and then to ignore the
   25
        presence of the old elements in the analysis.” Ultramercial, 722 F.3d at 1344
   26
        (emphasis added). In any event, an accused infringer cannot satisfy its burden with
   27
   28

                                                 19
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 25 of 31 Page ID #:339



    1 mere attorney argument or “conclusory” statements alone. Berkheimer v. HP, Inc.,
    2 890 F.3d 1369, 1372-73 (Fed. Cir. 2018) (denying petition for rehearing en banc).
    3        Defendants argue that the “asserted patents claim only generic computer
    4 functions using conventional components.” Mot. at 17-19. But their arguments
    5 impermissibly ignore each of the controlling legal rules they must apply or else pay
    6 mere lip service to (and runs afoul of) them.
    7        First, in broadly asserting under Step 2 that the dozens of asserted claims of the
    8 “asserted patents claim only generic computer functions using conventional
    9 components” Defendants incredibly continue to ignore the majority of claims and
   10 claim elements. Mot. at 17-19. But the Supreme Court and Federal Circuit forbid
   11 accused infringers from doing just that. Ultramercial, 772 F.3d at 715 (quoting Mayo
   12 Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1298 (2012)). Here,
   13 Defendants cite only a small handful of claim elements from the one hundred seventy-
   14 three ’929-patent elements they side-stepped in Step 1—and continue to disregard the
   15 other patents, patent families and claim elements. Mot. at 18 (identifying “editing”
   16 “detecting,” and “transmitting.”). Ignoring far fewer elements has still led to
   17 reversible error under Step 2. E.g., Berkheimer v. HP., 881 F.3d 1360, 1368-71
   18 (holding that district court’s failure to properly consider elements of claims 4-7 of
   19 single patent was reversible error).
   20        Second, for the claim elements Defendants actually do acknowledge, they do
   21 nothing more than make purely conclusory attorney argument, with almost no
   22 citations to the record. Mot. at 17-19. In fact, this entire section of Defendants’
   23 motion—intended to cover dozens of claims of four patents across sixty-five
   24 combined columns of patent disclosure in two patent families—includes only two
   25 citations to the record, supposedly corresponding to the relevant disclosure of the
   26 “detecting” and “editing” elements. See Mot. at 18 (citing patent at columns 26 and
   27 31 only). They continue to wholly ignore many objectively key limitations, including
   28 the concrete—and pervasive—requirement of “a controller configured to…compare

                                                 20
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 26 of 31 Page ID #:340



    1 said management information…with management information [] in said first storage
    2 medium and … to transmit data [] based on [the] comparison.” They also ignore very
    3 large swaths of additional claim elements as an ordered combination—and also ignore
    4 their corresponding patent disclosures. This is fatal to their motion. Berkheimer, 890
    5 F.3d at 1372-73. It is also telling: because numerous pieces of the patent disclosure
    6 and claims themselves prove Defendants wrong and conclusively show the patent
    7 claims are patent-eligible technological solutions under Step 1 and also contain
    8 inventive ordered combinations at Step 2. E.g., ’929 patent claims; Figures 1, 12A,
    9 12B; col 1:15-col. 2:39; sol. 7:5-8:24; 9:31-10:53; 11:37-12:15; 23:15-26:43; see also
   10 ’893 patent claims; Figs. 1, 16, 17A, 17B, col 1:41-2:59; 7:35-8:2; 9;4-10:2; 13:14-
   11 15:14; 23:48-26:6329:1-30:45.
   12        Third, Defendants are committing a separate legal flaw in their analysis even
   13 for the two ’929 patent “detecting” and “editing” claim elements for which
   14 Defendants provide some factual citation. In singling out only a few words from two
   15 claim elements and ignoring their role in the complete, ordered combination,
   16 Defendants are improperly “dissect[ing] the claims into old and new elements and
   17 then to ignore the presence of the old elements in the analysis.” Ultramercial, 722
   18 F.3d at 1344 (emphasis added). And regardless, Defendants’ citations do not help
   19 them. They do not prove that even the individual elements themselves comprise “well-
   20 understood, routine, conventional activity,” let alone the ordered combination of all
   21 elements. Moreover, Defendants’ table still includes mere attorney argument or
   22 conclusory statements. That makes it legally insufficient to carry their burden.
   23 Berkheimer, 890 F.3d at 1372-73. Even that single conclusory statement on one
   24 element might, at most, tend to show the singled-out element might merely be
   25 “known” does not answer the relevant question under Step 2. That is because the
   26 “mere fact that something is disclosed in [] prior art … does not mean it was well-
   27 understood, routine, and conventional.” Id (emphasis added). And here, the patents
   28 and their file histories make clear that each included independent-claim limitations

                                                21
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 27 of 31 Page ID #:341



    1 that were not in the prior art, let alone “well-understood, routine, and conventional.”
    2 This includes the claimed (1) “controller,” (2) “editor,” and the claimed circuitry to
    3 (3) “compare [] management information,” or (4) “uniquely associate” with an
    4 external hardware apparatus. And the dependent claims include similar questions.
    5 Beyond just the “representative” ’929 patent, this includes, at least claims 3, 6 and 12
    6 of the ’537 patent, claims 2, 3, and 14 of the ’581 patent, and claims 4, 6, 8 and 41 of
    7 the ’893 patent, to name just a few.
    8        Though these fatal facts are clear from the record, at the very least, under the
    9 proper Rule 12(b)(6) standards, even a conflicting intrinsic record would present a
   10 factual dispute that precludes a motion to dismiss. See, e.g., Aatrix Software Inc. v.
   11 Green Shades Software, Inc., 882 F.3d 1121, 1125-30 (Fed. Cir. 2018).
   12        The International Trade Commission recently instituted an infringement
   13 investigation and rejected the accused infringer’s attempt at an early 101
   14 determination. Ex. 2.
   15               2. Defendants’ Conclusory Characterization of the Specifications
                       Are Factually Wrong and, In Any Event, Legally Irrelevant
   16
   17        Defendants move next to ignoring or mischaracterizing the patent specification.
   18 Mot. at 19-20. They apparently do this in an attempt to prove that the “claimed
   19 functions were routine” and merely “automate a manual process.” Id. This also fails.
   20        In fact, Defendants’ contention that the patents merely automate a manual
   21 process in the existing art is belied by the facts expressed in the patents themselves.
   22 As previously demonstrated, the “conventional” electronic systems used by skilled
   23 artisans at the time of the invention was a computer system with optical disk-changer
   24 to accomplish this process. Id. at 10-29. But with the then-recent explosion of massive
   25 digital-data transfer on the order of gigabytes, the existing electronic processes did
   26 not enable easy or random selection of files to transfer. Id. When some uses computer
   27 systems that burned digital files into hard disk drives or semiconductor memory, those
   28 still required a very long time to selectively transfer certain digital data between

                                                 22
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 28 of 31 Page ID #:342



    1 electronic apparatuses. Id. For their part, the inventors expressly stated that they did
    2 not want to resort to merely changing aspects of the existing electronic processes to
    3 make them require more manual user-interactions, because that would be more
    4 “cumbersome” and create “confusion” in determining its purpose. Id.
    5         Moreover, when examining the actual, complete record, the patents clearly
    6 describe unconventional servers and automatic electronic apparatuses and processes
    7 that aim to reduce data redundancies, improve system efficiency, reduce digital-data
    8 storage and time requirements, among other things. See also id. at 2: 10-39; E.g., ’929
    9 patent claims; Figures 1, 12A, 12B; col 1:15-col. 2:39; sol. 7:5-8:24; 9:31-10:53;
   10 11:37-12:15; 23:15-26:43; see also ’893 patent claims; Figs. 1, 16, 17A, 17B, col
   11 1:41-2:59; 7:35-8:2; 9;4-10:2; 13:14-15:14; 23:48-26:6329:1-30:45. These exact
   12 concepts have been determined sufficient in other cases involving patents with later
   13 priority dates. Berkheimer, 881 F.3d at 1369 (“The specification describes an
   14 inventive feature that stores parsed data in a purportedly unconventional manner. This
   15 eliminates redundancies, improves system efficiency, reduces storage requirements,
   16 and enables a single edit to a stored object to propagate throughout all documents
   17 linked to that object.”). Again, these dispositive facts are clear in the record; but at the
   18 very least, under the proper Rule 12(b)(6) standards, even a conflicting intrinsic
   19 record would present a factual dispute that precludes a motion to dismiss. See, e.g.,
   20 Aatrix Software, 882 F.3d at 1125-30.
   21         To be sure, Defendants are also wrong about the legal import of their factually
   22 baseless theory in any event. While Defendants contend that it is “well settled” that
   23 “automating an otherwise manual” tasks is not inventive, the Federal Circuit
   24 disagrees. In McRO, held a patent eligible under Steps 1 and 2 where it was expressly
   25 directed to “automating part of a preexisting 3-D animation” task. 837 F.3d at 1299-
   26 1313; see also id. (“essentially, the patents aim to automate a 3-D animator’s
   27 tasks…”) (emphasis added). Indeed, even Defendants in that cases “did not dispute
   28 that automat[ing] tasks that humans are capable of performing are patent eligible if

                                                   23
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 29 of 31 Page ID #:343



    1 properly claimed.” Id. at 1313. Thus, even if Defendants are correct about their
    2 assertion, it would not help them carry their burden here anyway, because it (again)
    3 also rests on an incorrect legal premise.
    4               3. Defendants’ Catch-All Table Rests on Attorney Argument And
                       Cannot Be Nearly Enough to Satisfy Defendants’ Heavy Burden
    5
    6        In a failed effort to cover their bases, Defendants insert a three-page word table

    7 that, they purport, adequately covers the elements of “the remaining claims[.]” Mot.
    8 at 21-23. But Defendants’ table does no such thing. To the contrary it still suffers the
    9 exact same flaws in their Step 2 analysis preceding it.
   10        Defendants’ table still does not account for all elements. And in parsing out
   11 claim words apart from the rest of the claim, it also still does not account for any
   12 ordered combination. This is likewise fatal to Defendants’ motion. Ultramercial, 722
   13 F.3d at 1344 (“it is inappropriate to dissect the claims into old and new elements …”)
   14       And that Defendants cannot meet their burden is especially true where, as here,
   15 there are many facts contradicting Defendants. E.g., ’929 patent claims; Figures 1,
   16 12A, 12B; col 1:15-col. 2:39; sol. 7:5-8:24; 9:31-10:53; 11:37-12:15; 23:15-26:43;
   17 see also ’893 patent claims; Figs. 1, 16, 17A, 17B, col 1:41-2:59; 7:35-8:2; 9;4-10:2;
   18 13:14-15:14; 23:48-26:6329:1-30:45. At the very least, to avoid a remand, a fully
   19 developed factual record is necessary to resolve all these would-be factual questions.
   20 Aatrix Software, 882 F.3d at 1125-27.
   21 IV.    CONCLUSION
   22        For the foregoing reasons, the Court should deny Defendants’ Motion.
   23
   24   Dated: April 15, 2019                     Respectfully submitted,
   25
   26
                                                  By: /s/ Reza Mirzaie
   27                                             Marc A. Fenster (CA SBN 181067)
   28                                             Email: mfenster@raklaw.com

                                                  24
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 30 of 31 Page ID #:344



    1                                        Brian D. Ledahl (CA SBN 186579)
                                             Email: bledahl@raklaw.com
    2
                                             Reza Mirzaie (CA SBN 246953)
    3                                        Email: rmirzaie@raklaw.com
                                             Paul Kroeger (CA SBN 229074)
    4
                                             Email: pkroeger@raklaw.com
    5                                        C. Jay Chung (CA SBN 252794)
                                             Email: jchung@raklaw.com
    6
                                             Philip X. Wang (CA SBN 262239)
    7                                        Email: pwang@raklaw.com
    8                                        RUSS AUGUST & KABAT
                                             12424 Wilshire Boulevard, 12th Floor
    9                                        Los Angeles, CA 90025
   10                                        Telephone: 310/826-7474
                                             Facsimile 310/826-6991
   11
   12                                        Attorneys for Plaintiff
                                             Data Scape Limited
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                            25
Case 8:18-cv-02285-DOC-KES Document 33 Filed 04/15/19 Page 31 of 31 Page ID #:345



    1                           CERTIFICATE OF SERVICE
    2        I hereby certify that the foregoing document was served on all counsel of record
    3 via electronic service on April 15, 2019.
    4
    5                                                  /s/ Reza Mirzaie
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                  26
